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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

                                                   No. 23-CR-239 (CKK)

        -v–



 ILYA LICHTENSTEIN AND HEATHER
 MORGAN,

                      Defendants.


                       MOTION FOR LEAVE TO FILE SUR-REPLY

       Interested Party iFinex Inc. (“Bitfinex”), through its attorneys Gibson Dunn & Crutcher

LLP, hereby moves for leave to file a sur-reply of no more than ten pages in response to the newly

raised arguments in the Government’s recently filed restitution reply brief. ECF No. 262. On

November 21, 2024, the Court issued an Order setting a briefing schedule for restitution. ECF No.

185.   In response, the Government filed a Supplemental Motion Regarding Restitution

recommending that the Court award in-kind restitution to Bitfinex of 94,636 Bitcoins and related

assets. ECF No. 202. Bitfinex then filed its response in support of the Government’s position.

ECF No. 229-1. It also appears that approximately fourteen third parties have recently filed or

joined responses to the Government and Bitfinex’s filings, some of which remain under seal. On

February 10, 2025, the Court ordered the Government to submit briefing addressing three

questions related to restitution. ECF No. 247. On February 23, 2025, the Government submitted

its reply and also responded to the three questions identified by the Court. ECF No. 262. In that

reply brief, the Government maintained that the Court could award in-kind restitution to Bitfinex

alone, but it changed its position to recommend that the Court decline to award restitution at all.
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Id. at 2-4.

        Bitfinex respectfully requests that the Court permit Bitfinex to respond to the new

arguments raised by the Government on reply and grant Bitfinex’s Motion for Leave to File Sur-

Reply. In instances like the present, where arguments are raised for the first time on reply, courts

in this district routinely grant leave to file a sur-reply. See, e.g., Health All. Hosps., Inc. v. Burwell,

130 F. Supp. 3d 277, 283 n.1 (D.D.C. 2015) (Kollar-Kotelly, J.); Pao Tatneft v. Ukraine, 17-cv-

582 (CKK), 2021 WL 6753455, at *2 (D.D.C. Jan. 11, 2021). Should the Court grant Bitfinex’s

request, Bitfinex will file its sur-reply within one day of the Court’s order, or at such other time

that the Court deems appropriate.

        A Proposed Order is attached hereto as Exhibit A.



Dated: March 3, 2025                                 Respectfully submitted,

                                                     GIBSON, DUNN & CRUTCHER LLP


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